     Case 2:13-cr-06070-SAB        ECF No. 26   filed 12/13/13   PageID.52   Page 1 of 2




 1   Rick L. Hoffman
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 3   (509) 248-8920

 4   Attorneys for Defendant
     KENNETH ROWELL
 5
                                  UNITED STATES DISTRICT COURT
 6                               EASTERN DISTRICT OF WASHINGTON
                               (HONORABLE WM. FREMMING NIELSEN)
 7
     UNITED STATES OF AMERICA,                    )
 8                                                )      CR-13-6070-WFN
                  Plaintiff,                      )
 9                                                )      MOTION FOR EXPEDITED
          Vs.                                     )      HEARING
10                                                )
     KENNETH ROWELL,                              )      BEFORE JUDGE HUTTON
11                                                )
                                                  )      December 18, 2013
12                Defendant.                      )      2:00 p.m., Yakima, WA
                                                  )      With Oral Argument
13
     TO:        MICHAEL C. ORMSBY, UNITED STATES ATTORNEY
14              ALEXANDER C. EKSTROM, ASSISTANT UNITED STATES ATTORNEY

15              The defendant, KENNETH ROWELL, by and through his attorney, Rick
16
     L. Hoffman, for the Federal Defenders of Eastern Washington and Idaho,
17
     hereby moves this court to consider on an expedited basis his separately filed
18
     motion to reopen detention hearing to reconsider conditions of release in this
19
     matter. This motion is based upon Local Rule 7.1(h)(6).
20

21   //

22   //
23
                MOTION FOR EXPEDITED
24              HEARING

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     Case 2:13-cr-06070-SAB   ECF No. 26   filed 12/13/13   PageID.53   Page 2 of 2




 1   DATED:     December 13, 2013
                                       Respectfully Submitted,
 2

 3
                                       s/ Rick L. Hoffman_
 4                                     Rick L. Hoffman, 9478
                                       Attorney for KENNETH ROWELL
 5                                     Federal Defenders of Eastern
                                       Washington and Idaho
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 9

10
                              CERTIFICATE OF SERVICE
11

12        I hereby certify that on December 13, 2013, I electronically filed the
13
     foregoing with the Clerk of the Court using the CM/ECF System which will send
14
     notification of such filing to the following: ALEXANDER C. EKSTROM,
15
     Assistant United States Attorney.
16

17
                                       s/ Rick L. Hoffman
18                                     Rick L. Hoffman, 9478
                                       Attorney for KENNETH ROWELL
19

20

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22

23
          MOTION FOR EXPEDITED
24        HEARING

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